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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.

 PAUL J. MANAFORT, JR.,                               Crim. No. 17-201-1 (ABJ)


                Defendant


             GOVERNMENT’S RESPONSE TO PAUL J. MANAFORT, JR.’S
                   MOTION FOR A BILL OF PARTICULARS

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby files this response to defendant Paul J. Manafort, Jr.’s Motion for a Bill of Particulars

pursuant to Federal Rule of Criminal Procedure 7(f). See Doc. 255 and 255-1. Manafort seeks an

order that would require the government to provide information falling within three principal

categories: how Manafort “caused” certain actions, the nature of false and misleading statements,

and the identity of “accomplices” and “others” referenced in the Superseding Indictment returned

against Manafort on February 23, 2018, see Doc. 202 (“Indictment”). Because the Indictment

provides sufficient factual detail to eliminate any risk of prejudicial surprise at trial, and because

nearly all of the information sought by Manafort is either readily apparent from the Indictment or

has been conveyed to Manafort in discovery letters and various phases of pretrial litigation, a bill

of particulars is unwarranted in this case. For these and other reasons explained more fully below,

Manafort’s motion should be denied.

                                      LEGAL STANDARD

       Rule 7(f) of the Federal Rules of Criminal Procedure authorizes courts to “direct the

government to file a bill of particulars.” As Manafort notes, Rule 7(f)’s general authority to order


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a bill of particulars is committed to the Court’s sound discretion. See United States v. Mejia, 448

F.3d 436, 445 (D.C. Cir. 2006) (emphasizing that Rule 7(f) provides that a court “may direct” the

filing of a bill). But the contours of that discretion are well-settled. A bill of particulars is

appropriate only where the indictment’s charging language and any related disclosures by the

government are so general as to fail to advise a defendant of the specific acts he is accused of

committing. See United States v. Sanford Ltd., 841 F. Supp. 2d 309, 315–16 (D.D.C. 2012).

Where charging language is overly general, a bill of particulars achieves three related purposes: it

supplies the information necessary for a defendant to understand the charges against him and

prepare for trial, it prevents prejudicial surprises at trial, and it ensures the defendant is in

possession of a sufficiently precise description of the allegations against him to permit him to

assert his rights under the Double Jeopardy Clause should a second prosecution for the same

alleged acts arise. See United States v. Butler, 822 F.2d 1191, 1193 (D.C. Cir. 1987).

       The bill of particulars is not, by contrast, an investigative or discovery tool to be wielded

by a defendant when the indictment and related disclosures by the government adequately apprise

him of the specific acts of which he is accused. See United States v. Ramirez, 54 F. Supp. 2d 25,

29 (D.D.C. 1999). A bill of particulars is not designed to give the defense a “preview [of] the

government’s theories or evidence,” id., or “provide a method to force the prosecution to connect

every dot in its case,” United States v. Han, 280 F. Supp. 3d 144, 149 (D.D.C. 2017). A defendant

seeking a bill of particulars must therefore show that the information sought is necessary to remedy

an indictment that is otherwise too general to apprise him of the specific acts of which he is

accused. See Sanford Ltd., 841 F. Supp. 2d at 316 (“Defendants are not entitled to a bill of

particulars as a matter of right since the test is whether such particulars are ‘necessary.’”); United

States v. Fruchter, 104 F. Supp. 2d 289, 312 (S.D.N.Y. 2000) (question is one of necessity, not



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whether it would be “helpful”). If, however, “the indictment is sufficiently specific, or if the

requested information is available in some other form, then a bill of particulars is not required.”

Butler, 822 F.2d at 1193. Indeed, even where necessary particulars are not apparent on the face of

an indictment, if the government has disclosed them in another form—such as in discovery or

pretrial-motion practice—the need for a bill of particulars is obviated. See id. at 1193–94; United

States v. Mosquera-Murillo, 153 F. Supp. 3d 130, 147–48 (D.D.C. 2015).

                                           ARGUMENT

       Manafort has been provided ample notice of the nature of and basis for the charges against

him.   The grand jury returned a factually detailed indictment that describes the specific

circumstances underlying the charges. Manafort has participated in pretrial motions practice

before this Court and privilege litigation before Chief Judge Howell that dispel any doubt that he

is on notice of the factual and legal bases for the false-statements charges and related counts. And

the government has provided voluminous discovery that conveys—including in cover letters and

productions that specifically identify key (or “hot”) documents—the very information that

Manafort requests via a bill of particulars. 1 His motion for a bill of particulars should be denied.

I.     The Conspiracy Allegations Sufficiently Advise Manafort Of The Charge

       The Indictment spans 31 pages, of which nearly 25 pages recite the factual allegations

underlying the charges and six pages place those allegations into particular counts showing how

they satisfy the elements of the charged offenses. As relevant to the instant motion, Count One of

the Indictment incorporates 36 paragraphs of factual allegations and charges Manafort with



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          One obvious example is the identity of the two lobbying firms described as Company A
and Company B in the Indictment. Manafort’s motion (Doc. 255 at 2, 4; Doc. 255-1 at 4 n.2)
repeatedly asks the government to identify these companies. But the government’s first discovery
letter, sent to Manafort on November 17, 2017, contained a chart that expressly named those
companies (and the “Vendors” that are anonymized in the original and Superseding Indictments).
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conspiracy (i) to defraud the United States by impeding the functions of two named government

bodies (the Treasury Department and the Department of Justice); and to commit both (ii) the FARA

and false-statements offenses described in Counts Three through Five of the Indictment and

(iii) an FBAR violation (failing to report foreign bank accounts, in violation of 31 U.S.C. §§ 5314

and 5322).

       Manafort nevertheless contends that the Court should take a more “liberal” approach to

granting a bill of particulars because (he claims) the conspiracy charged in Count One is general

in nature, is broadly captioned, and includes object offenses (e.g., tax and FARA) that are complex

or novel. Doc. 255-1 at 3–4. But as Manafort acknowledges, whatever the wording of its caption,

Count One expressly charges Manafort with participating in a multi-object conspiracy whose

contours he has readily understood, see id. at 3, and that is explained in the factual allegations of

the Indictment. And the evidentiary underpinnings of those allegations have been provided in

pretrial litigation and discovery.    No more is required to prevent unfair surprise at trial.

See Sanford Ltd., 841 F. Supp. 2d at 317 (noting the “general rule” in conspiracy cases “that the

defendant is not entitled to obtain detailed information about the conspiracy in a bill of

particulars”) (quoting United States v. Diaz, 303 F. Supp. 2d 84, 89 (D. Conn. 2004)).

       Even apart from the discovery process, the overt acts incorporated into Count One provide

Manafort with ample notice of the nature of the charged conspiracy. Count One alleges that

Manafort and others committed, as overt acts in furtherance of the conspiracy, the acts described

in the FARA false-statement offense (Count Four), and the acts described in paragraphs 8–11, 14–

18, 20–31, and 35–36. Generally described, these incorporated paragraphs allege the following:

       •     the identities of numerous domestic and corporate entities (e.g., DMP, DMI, and those
             listed in Paragraph 11), co-conspirators (Gates), foreign principals and related
             intermediaries (Government of Ukraine, the Party of Regions, members of that Party,
             the “Centre”), and various foreign bank accounts and wires (¶¶ 8–11, 15–18);

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       •    a lobbying scheme on behalf of the former President of Ukraine, a former Ukrainian
            political party, and the Ukrainian government, the first part of which involved
            (a) retaining “Company A” and “Company B” to undertake unregistered lobbying and
            public-relations work on behalf of named foreign principals, (b) using a nominal client
            (the Centre) to obscure the foreign principals on whose behalf they were lobbying, and
            (c) the payment of Company A and B through identified Manafort-associated foreign
            entities (¶¶ 20–23, 24–25);

       •    a verbatim quotation from a statement that Gates arranged for the Centre to make to
            Company A and B (¶ 25);

       •    verbatim quotations from false and misleading statements provided by Gates and
            Manafort to the FARA Unit of the Department of Justice on dates certain (¶¶ 27–28);

       •    excerpts from a list of false talking points that Gates provided to Company B in writing
            (the original, unredacted original of which was produced to Manafort in discovery)
            (¶ 26);

       •    a second part of the lobbying scheme involving retention of a United States law firm
            on behalf of the Ukrainian Ministry of Justice to write a report on the trial of Yulia
            Tymoshenko; the amount of wires from Manafort’s and Gates’s offshore accounts to
            that law firm; the retention of a public-relations firm to assist in the rollout of the report;
            a quotation from a memorandum written by Manafort that briefed the Ukrainian
            government on the report—the original of which named the law firm and the public-
            relations firm, and was produced to Manafort in discovery as a “hot doc” (¶ 29);

       •    a third part of the lobbying scheme involving a group of senior former politicians, who
            were also paid from Manafort’s offshore accounts to lobby on behalf of Ukraine;
            verbatim quotes from an “EYES ONLY” memorandum written by Manafort that
            named each of the politicians described in the Indictment; the fact of coordination
            between the group of politicians, Manafort, Gates, and Company A and B (¶¶ 30–31);

       •    precise identifications of the bank accounts for which Manafort failed to make a FBAR
            filing and the years during which he failed to do so; quotations from e-mail
            correspondence between Manafort and his “tax preparer,” which contain statements
            alleged to be false and were produced as “hot docs” to Manafort in discovery (¶¶ 35–
            36).

       Those detailed allegations are plainly sufficient to permit Manafort to prepare his defense

and to allow him to understand the precise basis of the charges against him. See United States v.

Wedd, No. 15-cr-616, 2016 WL 1055737, at *3 (S.D.N.Y. Mar. 10, 2016) (describing a similar

“speaking indictment” that provided “a significant amount of detail as to the Government’s theory

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of the case and the nature of the proof that will underlie the charges at trial,” including the

identification of particular e-mails between co-conspirators). And, as mentioned above, the “hot”

documents produced to counsel that are relevant to each of these allegations provide Manafort with

further notice of the evidentiary basis of the charges. See Butler, 822 F.2d at 1193; United States

v. Walsh, 194 F.3d 37, 45 (2d Cir. 1999) (taking cognizance of discovery provided to a defendant

and noting that “where the indictment has been found even minimally sufficient, a court may look

to the record as a whole in determining whether the defendant is protected from double jeopardy

in a subsequent prosecution and whether the defendant has had an adequate opportunity to prepare

his defense”).

II.    The Cited Allegations Concerning “Causation” Are Sufficiently Precise

       Manafort also contends that the Indictment lacks sufficient detail in its allegations that he

caused (1) his legal counsel to submit false statements to the Department of Justice, and

(2) “Companies A, B, C, and others” to act as unregistered agents of a foreign principal. See Doc.

255-1 at 4 (citing paragraphs 13, 27, 45, and 47 of the Indictment). Although Manafort asserts

that details about these allegations are “left to the reader’s imagination,” id., that characterization

is inconsistent both with the Indictment and the information furnished to Manafort and his counsel.

       As to the false statements that Manafort submitted through counsel to the FARA Unit, the

Indictment alleges with precision the statements that are alleged to be false and misleading, the

dates on which those statements were made, and the actual facts that made those statements false

and misleading. See, e.g., Doc. 202 ¶¶ 27, 28, 45. The government further notes that Manafort

participated in litigation before Chief Judge Howell concerning the question whether testimony

from the lawyer who submitted the statements should be made available to the grand jury under

the crime-fraud exception to attorney-client privilege. See In re Grand Jury Investigation, No. 17-



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mc-2336 (BAH), 2017 WL 4898143 (D.D.C. Oct. 2, 2017). In addition to the actual letters that

contain the statement, the government has produced to Manafort an unredacted version of its in

camera factual submissions to the Chief Judge, relevant transcripts from those proceedings, and

an unredacted version of the Chief Judge’s memorandum opinion (which the Chief Judge ordered

unsealed at the government’s request). Those materials eliminate any room for doubt concerning

the basis of the government’s charges. Indeed, by virtue of the prima facie showing required of

the government in the crime-fraud proceedings, the materials produced to Manafort and his

participation as privilege-holder in the crime-fraud proceedings reveal to him a detailed picture of

the government’s potential proof at trial—far more than a bill of particulars would ordinarily

provide. See United States v. Shkreli, No. 15-cr-637, 2016 WL 8711065, at *5 (E.D.N.Y. Dec. 16,

2016) (denying motion for a bill of particulars where the “detailed ‘speaking’ indictment and [a]

Crime Fraud Affidavit provide[d] further specifics of the Government’s theory of the case in a

manner not often available to criminal defendants”).

       Manafort’s access to this extensive information distinguishes his case from the lone

authority he cites, United States v. Hsia, 24 F. Supp. 2d 14 (D.D.C. 1998). The court in Hsia

granted in limited part the defendant’s motion for a bill of particulars where the government

clarified only “at oral argument” on the motion itself the nature of the false statements alleged but

“still ha[d] not provided a coherent explanation of how Ms. Hsia ‘caused’ those false statements

to be made.” Id. at 32. Here, by contrast, even assuming that the Indictment alone did not

adequately specify how Manafort caused false statements to be made through counsel—which it

did—the crime-fraud proceedings and materials since provided to him in discovery amply do so.

       That leaves Manafort’s complaints (Doc. 255-1 at 4) about the causation allegation in the




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 FARA count of the Indictment, Paragraph 43. 2 But as was explained in Part I above, the

 Indictment’s allegations concerning the direction, retention, and payment of Companies A, B,

 and C—and an involved law firm—span many pages of the Indictment and contain both detailed

 descriptions of Manafort’s and Gates’s direction of those Companies and verbatim excerpts from

 evidence produced to Manafort in discovery. Further, although the government did not name the

 particular individuals at Company A and Company B with whom Manafort and Gates directly

 worked, those persons’ names have been furnished in multiple ways during the discovery process.

 That includes in the government’s crime-fraud filings that were unsealed and produced to

 Manafort, as well as the “hot” documents produced in connection with the FARA charge.

III.    The Allegations Of False And Misleading Statements Are Sufficiently Precise

        Manafort concedes that “the statements identified in Counts Four and Five of the”

 Indictment are “sufficient to provide notice to the defense as to the[] content” of the statements

 that the government alleges to be false and misleading. Doc. 255-1 at 6. He contends, however,

 that the references to “false statements” in other parts of the Indictment (Paragraphs 3, 4, 26, and

 27) are so general as to require a bill of particulars because the Indictment does not provide any

 detail about the content, number, maker, and recipient of those false statements. Id.

        Manafort’s argument is without merit.          Paragraphs 3 and 4 are portions of the

 “Introduction” section of the Indictment that summarize facts later alleged with specificity. In



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           While Manafort focuses on its causation language, Paragraph 43 also alleges that
 Manafort is liable for his own acting as an unregistered “agent of a foreign principal,” and for
 aiding and abetting the listed Companies and others in doing so. Doc. 202 ¶ 43; see 18 U.S.C.
 § 2(a). A motion for a bill of particulars cannot be used to force the government to choose among
 those duly indicted theories. See United States v. North, 910 F.2d 843, 913 (D.C. Cir.) (“no
 authority” supported the proposition that such a motion could force the government to choose
 between principal and aiding-and-abetting liability, or between the two forms of liability in 18
 U.S.C. § 2), superseded in part on other grounds, 920 F.2d 940 (D.C. Cir. 1990).


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 particular, the details underlying the more generalized allegation in Paragraph 3 are provided in

 Paragraph 36, while the false statements mentioned in Paragraph 4 are detailed in Paragraphs 27,

 28, and 45 of the Indictment. As for Paragraph 26, that paragraph itself describes the timing of

 the communication, the participants in it, and a basis for believing its contents to be false and

 misleading. Even were that not so, the unredacted original communication that is excerpted in

 Paragraph 26 was produced to Manafort as a “hot” document in discovery.

        The details that Manafort requests about false statements that he and Gates made in

 connection with Manafort’s unregistered work on behalf of foreign principals are provided in

 Paragraphs 27 and 28 and were also addressed in the crime-fraud litigation. As explained above,

 that litigation included multiple factual affidavits and briefing that have been produced to Manafort

 in discovery. In short, given the specificity of the Indictment and the abundant information he has

 learned from pretrial proceedings, Manafort is in no way left “guessing which statements he has

 to defend against,” Doc. 255-1 at 5 (quoting United States v. Trie, 21 F. Supp. 2d 7, 21 (D.D.C.

 1998)). See, e.g., United States v. Cisneros, 26 F. Supp. 2d 24, 55–56 (D.D.C. 1998) (denying

 motion for a bill of particulars that had asked for the government to “specifically identify the

 allegedly false statements which form the basis of the Indictment, the questions to which the

 alleged false statements and concealments were allegedly responsive, and the manner in which the

 statements are alleged to be false”).

IV.     The Indictment’s References to “Others” and “Accomplices” Are Sufficiently Precise,
        And The Relevant Identities Are Otherwise Known to the Defense

        Finally, Manafort contends (Doc. 255-1 at 7–8) that the references to “others” and

 “accomplices” in the Indictment necessitate a bill of particulars. That is especially so, Manafort

 suggests (id. at 7), to the extent that he may have relied on one of the unnamed “others” for

 professional advice. That contention lacks merit.

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       As explained above, any suggestion that the identities of the anonymized corporate entities

(e.g., “Company A”), foreign bank accounts, former lawyers, and tax accountants are insufficiently

precise to permit Manafort to prepare his defense strains credulity.        For each category of

“accomplices” and “others” that Manafort identifies, the Indictment includes verbatim excerpts

from communications that have been separately produced—in unredacted form—as “hot”

documents to Manafort in discovery. The versions of these documents produced in discovery

identify both the relevant entity and the individual to whom the communication was directed.

These “hot” documents are but a fraction of the larger set of produced materials that identify,

among other things, communications between Manafort, Gates, and many of the salient individuals

associated with all of the intermediaries through which Manafort acted.

       Contrary to Manafort’s suggestion (Doc. 255-1 at 4 n.2), by letter dated November 17,

2017, the government expressly identified the names of Company A and Company B and the list

of Vendors anonymized in the original (and later the Superseding) Indictment. See also p. 3, n.1,

supra. Several of these individuals and entities, moreover, were named in connection with the

crime-fraud litigation. And the discovery productions include documents from Company C and

the law firm that identify the individuals from those entities who were parties to communications

with Manafort and Gates. That information readily permits Manafort to identify the individuals

and entities involved in the conduct alleged and “to conduct his own investigation” as necessary.

See Sanford Ltd., 882 F. Supp. 2d at 316 (explaining that a bill of particulars is intended to give

the defendant only the information necessary to permit him to undertake his own investigation, not

to provide him with the fruit of the government’s investigation).




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                                        CONCLUSION

       For the foregoing reasons, Manafort’s motion to for a bill of particulars (Doc. 255) should

be denied.

                                                    Respectfully submitted,

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Dated: April 23, 2018                               /s/ Andrew Weissmann
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